Case 1:25-cv-00091-LM   Document 41-10   Filed 04/07/25   Page 1 of 20




             EXHIBIT G
         Case 1:25-cv-00091-LM           Document 41-10       Filed 04/07/25   Page 2 of 20




Frank Edelblut                                                                     Christine Brennan
Commissioner                                                                       Deputy Commissioner

                                          STATE OF NEW HAMPSHIRE
                                         DEPARTMENT OF EDUCATION
                                                25 Hall Street
                                             Concord, N.H. 03301
                                              TEL. (603) 271-3495
                                              FAX (603) 271-1953




                                              April 4, 2025

TO:              Senior Educational Official

FROM:            Lindsey Labonville, Administrator
                 Bureau of Federal Compliance

SUBJECT:         General Assurances FY 2026

The New Hampshire Department of Education (NHED) has developed the attached "General
Assurances, Requirements and Definitions for Participation in Federal Programs" document that
must be signed by all agencies and organizations that receive federal funds through the NHED.
The federally funded programs which flow money through the NHED require each applicant to
file certain assurances. Some of these assurances apply to all programs and are therefore,
considered "general assurances.”

The submission of general assurances is required in part by:

     •    Federal regulation 34 CFR §76.301 of the Education Department General Administrative
          Regulations (EDGAR), which requires a general application for subgrantees/subrecipients
          for participation in federal programs funded by the U.S. Department of Education that
          meets the requirements of Section 442 of the General Education Provisions Act (GEPA).

     •    Applicable federal statutes.

     •    Applicable regulations of other federal agencies.

The NHED has consolidated the general assurances into one document which also now includes
requirements and definitions in an effort to provide more guidance relative to implementation of
the underlying assurances. NHED requests an annual submission for each Local Education
Agencies (LEA's). This will simplify the collection of assurances and facilitate the requirement
that the NHED Commissioner of Education certify to the Secretary of Education the status of all
LEAs.



                                       TDD Access: Relay NH 711
                    EQUAL OPPORTUNITY EMPLOYER- EQUAL EDUCATIONAL OPPORTUNITIES
     Case 1:25-cv-00091-LM          Document 41-10        Filed 04/07/25     Page 3 of 20



In New Hampshire both School Districts and School Administrative Units (SAUs) are
considered LEA’s. Individual program policy determines which type of entity may apply for
federal funds. As such, both the Senior Educational Official and the local School Board
Chairperson are required to sign the certifications of the attached document.

I am requesting that you and the local School Board complete the certifications at the end of the
enclosed general assurance document; initial each page in the spaces provided (no initials
required for the signature pages) and upload the document in its entirety to the district’s
homepage on GMS. The Bureau of Federal Compliance office will notify the appropriate NHED
program approving federal funds to LEA's when it has received each assurance. The various
federal programs are not to request additional copies from you, but to accept the Bureau of
Federal Compliance list as the basis for determining compliance with these requirements as one
item in their approval of proposals for funding. Other program specific assurances will still be
requested from the LEA's by individual NHED programs.

Compliance with these general assurances will be subject to review by NHED staff during on-
site federal compliance monitoring. Annual audits by CPAs in accordance with the Single Audit
Act may also include compliance checks.

On the Certification page, please include the name and number of the SAU office and the name
of the School District which will be applying for funds. Both certifying parties are asked to
execute the document and return the document by uploading it to the district GMS homepage no
later than June 1, 2025.

If you should have any questions regarding these general assurances, please contact Lindsey
Labonville, Administrator of the Bureau of Federal Compliance at
Lindsey.L.Labonville@doe.nh.gov or at 603-731-4621.




                                    TDD Access: Relay NH 711
                 EQUAL OPPORTUNITY EMPLOYER- EQUAL EDUCATIONAL OPPORTUNITIES
         Case 1:25-cv-00091-LM         Document 41-10        Filed 04/07/25     Page 4 of 20




                   New Hampshire Department of Education

                                              FY2026

          GENERAL ASSURANCES, REQUIREMENTS AND
         DEFINITIONS FOR PARTICIPATION IN FEDERAL
                        PROGRAMS

Subrecipients of any Federal grant funds provided through the New Hampshire Department of
Education (NHED) must submit a signed copy of this document to the NHED Bureau of Federal
Compliance prior to any formula grant application being deemed to be “substantially approvable” or any
discretionary grant receiving “final approval.” Once a formula grant is deemed to be in substantially
approvable form, the subrecipient may begin to obligate funds which will be reimbursed upon final
approval of the application by the NHED (34 CFR 708).

Any funds obligated by the subrecipient prior to the applicant submitting its application to the
NHED in substantially approvable form will not be reimbursable even upon final approval of the
application by the NHED.

All individuals executing this document should review the document to ensure that you understand the
requirements and deadlines to which you are agreeing.

Following your review and acceptance of these General Assurances, Requirements and Definitions for
Participation in Federal Programs please sign the certification statement on the appropriate page and
then initial each of the remaining pages where indicated (initials on the signature pages are not
required).

Please note that the practice of the School Board authorizing the Senior Educational Official to sign on
behalf of the School Board Chair is not acceptable to the NHED in this case and will be considered non-
responsive.

Once the document is fully executed, please upload a signed copy of these General assurances to
the LEA homepage within GMS for review and approval. General assurances must be uploaded
for each district applying for federal funds.

Should you have any questions please contact Lindsey Labonville at 603-731-4621 or
Lindsey.L.Labonville@doe.nh.gov.
          Case 1:25-cv-00091-LM             Document 41-10          Filed 04/07/25       Page 5 of 20




           General Assurances, Requirements and Definitions for
                    Participation in Federal Programs
A.      General Assurances
Assurance is hereby given by the subrecipient that, to the extent applicable:

1) The subrecipient has the legal authority to apply for the federal assistance, and the institutional, managerial,
   and financial capability (including funds sufficient to pay non-federal share of project costs, as applicable) to
   ensure proper planning, management, and completion of the project described in all applications submitted.

2) The subrecipient will give the awarding agency, the NHED, the Comptroller General of the United States and,
   if appropriate, other State Agencies, through any authorized representative, access to and the right to examine
   all records, books, papers, or documents related to the award; and will establish a proper accounting system in
   accordance with generally accepted accounting standards or agency directives.

3) The subrecipient will comply with the requirements regarding construction and real property within 34 CFR
   Part 75.600-75.684. The non-Federal entity is required to comply with any reporting requirements on the status
   of real property in which the Federal Government retains an interest pursuant to 2 CFR 200.330.

4) The subrecipient will establish safeguards to prohibit employees from using their positions for purposes that
   constitute or appear to present a personal or organizational conflict of interest, or for personal gain.

5) The subrecipient will initiate and complete the work within the applicable time frame after receiving approval
   from the awarding agency.

6) The subrecipient will comply with all Federal statutes, administrative rules and executive orders including
   provisions protecting free speech, religious liberty, public welfare, the environment, and those prohibiting
   discrimination. These include, but are not limited to:
        (a) Title VI of the Civil Rights Act of 1964 (P.L. 88-352) which prohibits discrimination on the basis of
             race, color or national origin; including any guidance issued consistent with Executive Order 14151
             Ending Radical And Wasteful Government DEI Programs And Preferencing – The White House
             (January 20, 2025) and the communication titled “Reminder of Legal Obligations Undertaken in
             Exchange for Receiving Federal Financial Assistance and Request for Certification under Title VI and
             SFFA v. Harvard issued by the United States Department of Education on April 3, 2025, as applicable;
        (b) Title IX of the Education Amendments of 1972, as amended (20 U.S.C.§§1681-1683, and 1685-1686),
             which prohibits discrimination on the basis of sex including any guidance issued consistent with
             Executive Order 14168 Defending Women From Gender Ideology Extremism And Restoring
             Biological Truth To The Federal Government (January 20, 2025), as applicable;
        (c) Section 504 of the Rehabilitation Act of 1973, as amended (29 U.S.C. §794), which prohibits
            discrimination on the basis of handicaps;
        (d) The Age Discrimination Act of 1975, as amended (42 U.S.C. §§6101-6107), which prohibits
            discrimination on the basis of age;
        (e) The Drug Abuse Office and Treatment Act of 1972 (P.L. 92-255), as amended, relating to
            nondiscrimination on the basis of drug abuse;
        (f) The Comprehensive Alcohol Abuse and Alcoholism Prevention, Treatment and Rehabilitation Act of
            1970 (P.L. 91-616), as amended, relating to nondiscrimination on the basis of alcohol abuse or
            alcoholism;
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 1 of 16                                        Initials of School Board Chair:
          Case 1:25-cv-00091-LM             Document 41-10           Filed 04/07/25        Page 6 of 20



         (g) §§523 and 527 of the Public Health Service Act of 1912 (42 U.S.C. §§290 dd-3 and 290 ee- 3), as
             amended, relating to confidentiality of alcohol and drug abuse patient records;
         (h) Title VIII of the Civil Rights Act of 1968 (42 U.S.C. §§3601 et seq.), as amended, relating to
             nondiscrimination in the sale, rental or financing of housing;
         (i) Any other nondiscrimination provisions in the specific statute(s) under which application for Federal
             assistance is being made;
         (j) The Family Educational Rights and Privacy Act (FERPA) (20 U.S.C. § 1232g; 34 CFR Part 99) and
             the Protection of Pupil Rights Amendment (PPRA) (20 U.S.C. § 1232h; 34 CFR Part 98); and
         (k) The requirements of any other statute(s), administrative rule, executive order, dear colleague letter, or
             non-regulatory guidance which may apply to the application.

7) The subrecipient will comply, or has already complied, with the requirements of Titles II and III of the Uniform
   Relocation Assistance and Real Property Acquisition Policies Act of 1970 (P.L. 91-646) which provide for fair
   and equitable treatment of persons displaced or whose property is acquired as a result of federal or federally
   assisted programs. These requirements apply to all interests in real property acquired for project purposes
   regardless of federal participation in purchases.

8) The subrecipient will comply, as applicable, with provisions of the Hatch Act (5 U.S.C. §§1501-1508 and 7324-
   7328) which limit the political activities of employees whose principal employment activities are funded in
   whole or in part with federal funds. The subrecipient further assures that no federally appropriated funds have
   been paid or will be paid by or on behalf of the subrecipient to any person for influencing or attempting to
   influence an officer or employee of any agency, a Member of Congress, an officer or employee of Congress, or
   an employee of a Member of Congress in connection with the making of any federal grant; the entering into of
   any cooperative agreement; and the extension, continuation, renewal, amendment, or modification of any
   federal grant or cooperative agreement.

9) The subrecipient will comply with P.L. 93-348 regarding the protection of human subjects involved in research,
   development, and related activities supported in whole or in part with federal funds.

10) The subrecipient will comply with the Laboratory Animal Welfare Act of 1966 (P.L. 89-544, as amended, 7
    U.S.C. §§2131 et seq.) pertaining to the care, handling, and treatment of warm blooded animals held for
    research, teaching, or other activities supported in whole or in part with federal funds.

11) The subrecipient will comply with the Lead-Based Paint Poisoning Prevention Act (42 U.S.C. §§4801 et seq.)
    which prohibits the use of lead-based paint in construction or rehabilitation of residence structures.

12) The subrecipient will comply with all applicable requirements of all other federal laws, executive orders,
    regulations, dear colleague letter, non-regulatory guidance and policies governing all program(s).

13) The subrecipient will cause to be performed the required financial and compliance audits in accordance with
    the Single Audit Act Amendments of 1996 and 2 CFR 200.501, Subpart F, “Audit Requirements,” as applicable.

14) The recipient will comply with the requirements of Section 106(g) of the Trafficking Victims Protection Act
    (TVPA) of 2000, as amended (22 U.S.C. 7104) which prohibits grant award recipients or a sub-recipient from
    (1) Engaging in severe forms of trafficking in persons during the period of time that the award is in effect (2)
    Procuring a commercial sex act during the period of time that the award is in effect or (3) Using forced labor in
    the performance of the award or subawards under the award.

15) The control of funds provided to a subrecipient that is a Local Education Agency under each program, and title
    to property acquired with those funds, will be in a public agency, and a public agency will administer those
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 2 of 16                                        Initials of School Board Chair:
          Case 1:25-cv-00091-LM             Document 41-10          Filed 04/07/25        Page 7 of 20



    funds and property.

16) Personnel funded from federal grants and their subcontractors will adhere to the prohibition from text messaging
    while driving an organization-owned vehicle, or while driving their own privately owned vehicle during official
    Grant business, or from using organization-supplied electronic equipment to text message or email while
    driving. Recipients must comply with these conditions under Executive Order 13513, “Federal Leadership on
    Reducing Text Messaging While Driving,” October 1, 2009 (pursuant to provisions attached to federal grants
    funded by the US Department of Education).

17) The subrecipient assures that it will adhere to the Pro-Children Act of 2001, which states that no person shall
    permit smoking within any indoor facility owned or leased or contracted and utilized for the provision of routine
    or regular kindergarten, elementary, or secondary education or library services to children (P.L. 107-110,
    section 4303(a)). In addition, no person shall permit smoking within any indoor facility (or portion of such a
    facility) owned or leased or contracted and utilized for the provision of regular or routine health care or day
    care or early childhood development (Head Start) services (P.L. 107-110, Section 4303(b)(1). Any failure to
    comply with a prohibition in this Act shall be considered to be a violation of this Act and any person subject to
    such prohibition who commits such violation may be liable to the United States for a civil penalty, as determined
    by the Secretary of Education (P.L. 107-110, section 4303(e)(1).

18) The subrecipient will comply with the Stevens Amendment.

19) The subrecipient will comply with the Buy America Preference for Infrastructure Projects as required by 2 CFR
    Part 184.

20) The subrecipient will submit such reports to the NHED and to U.S. governmental agencies as may reasonably
    be required to enable the NHED and U.S. governmental agencies to perform their duties. The subrecipient will
    maintain such fiscal and programmatic records, including those required under 20 U.S.C. 1234(f), and will
    provide access to those records, as necessary, for those Departments/agencies to perform their duties.

21) The Subrecipient will ensure compliance with 2 CFR 200.415(a) and (b).

22) If an LEA, the subrecipient will provide reasonable opportunities for systematic consultation with and
    participation of teachers, parents, and other interested agencies, organizations, and individuals, including
    education-related community groups and non-profit organizations, in the planning for and operation of each
    program.

23) If an LEA, the subrecipient shall assure that any application, evaluation, periodic program plan, or report
    relating to each program will be made readily available to parents and other members of the general public upon
    request.

24) If an LEA, the subrecipient has adopted effective procedures for acquiring and disseminating to teachers and
    administrators participating in each program, significant information from educational research,
    demonstrations, and similar projects, and for adopting, where appropriate, promising educational practices
    developed through such projects. Such procedures shall ensure compliance with applicable federal laws and
    requirements.

25) The subrecipient will comply with the requirements of the Gun-Free Schools Act of 1994.

26) The subrecipient will submit a fully executed and accurate FY25 Single-Audit Certification (required) and the
    Federal Expenditures Worksheet (if applicable) to the NHED no later than December 31, 2025. The worksheet
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 3 of 16                                        Initials of School Board Chair:
          Case 1:25-cv-00091-LM             Document 41-10           Filed 04/07/25        Page 8 of 20



    will be provided to each subrecipient by the NHED via email and is posted on the NHED website.

27) The subrecipient shall comply with the restrictions of New Hampshire RSA 15:5.

28) The subrecipient will comply with the requirements in 2 CFR Part 180, Government-wide Debarment and
    Suspension (Non-procurement).

29) The subrecipient certifies that it will maintain a drug-free workplace and will comply with the requirements of
    the Drug-Free Workplace Act of 1988 and 34 CFR 84.200.

30) The subrecipient will adhere to the requirements of Title 20 USC 7197 relative to the Transfer of Disciplinary
    Records.

31) The subrecipient will comply with the Intergovernmental Personnel Act of 1970 (42 U.S.C. §§4728-4763)
    relating to prescribed standards for merit systems for programs funded under one of the 19 statutes or regulations
    specified in Appendix A of OPM's Standards for a Merit System of Personnel Administration (5 C.F.R. 900,
    Subpart F).

32) The subrecipient will comply, as applicable, with the provisions of the Davis-Bacon Act (40 U.S.C. §§276a to
    276a-7), the Copeland Act (40 U.S.C. §276c and 18 U.S.C. §874), and the Contract Work Hours and Safety
    Standards Act (40 U.S.C. §§327-333), regarding labor standards for federally assisted construction sub-
    agreements.

33) The subrecipient will comply, if applicable, with flood insurance purchase requirements of Section 102(a) of
    the Flood Disaster Protection Act of 1973 (P.L. 93-234) which requires recipients in a special flood hazard area
    to participate in the program and to purchase flood insurance if the total cost of insurable construction and
    acquisition is $10,000 or more.

34) The subrecipient will comply with environmental standards which may be prescribed pursuant to the following:
    (a) institution of environmental quality control measures under the National Environmental Policy Act of 1969
    (P.L. 91-190) and Executive Order (EO) 11514; (b) notification of violating facilities pursuant to EO 11738;
    (c) protection of wetlands pursuant to EO 11990; (d) evaluation of flood hazards in floodplains in accordance
    with EO 11988; (e) assurance of project consistency with the approved State management program developed
    under the Coastal Zone Management Act of 1972 (16 U.S.C. §§1451 et seq.); (f) conformity of Federal actions
    to State (Clean Air) Implementation Plans under Section 176(c) of the Clean Air Act of 1955, as amended (42
    U.S.C. §§7401 et seq.); (g) protection of underground sources of drinking water under the Safe Drinking Water
    Act of 1974, as amended (P.L. 93-523); and, (h) protection of endangered species under the Endangered Species
    Act of 1973, as amended (P.L. 93-205).

35) The subrecipient will comply with the Wild and Scenic Rivers Act of 1968 (16 U.S.C. §§1271 et seq.) related
    to protecting components or potential components of the national wild and scenic rivers system.

36) The subrecipient will assist the awarding agency in assuring compliance with Section 106 of the National
    Historic Preservation Act of 1966, as amended (16 U.S.C. §470), EO 11593 (identification and protection of
    historic properties), and the Archaeological and Historic Preservation Act of 1974 (16 U.S.C. §§469a-1 et seq.).

37) As appropriate and to the extent consistent with law, the non-Federal entity should, to the greatest extent
    practicable under a Federal award, provide a preference for the purchase, acquisition, or use of goods, products,
    or materials produced in the United States (including but not limited to iron, aluminum, steel, cement, and other
    manufactured products). The requirements of this section must be included in all subawards including all
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 4 of 16                                        Initials of School Board Chair:
           Case 1:25-cv-00091-LM             Document 41-10           Filed 04/07/25        Page 9 of 20



     contracts and purchase orders for work or products under this award (2 CFR 200.322).

38) The subrecipient will comply with the Prohibition on Certain Telecommunications and Video Surveillance
    Equipment requirement per 2 CFR 200.216.

39) The subrecipient will comply with the Protection for Whistleblowers (41 U.S.C. §4712).

B.       Explanation of Grants Management Requirements
The following section elaborate on certain requirements included in legislation or regulations referred to in the
"General Assurances" section. This section also explains the broad requirements that apply to federal program
funds.

1. Financial Management Systems

Financial management systems, including records documenting compliance with federal statutes, regulations, and
the terms and conditions of the federal award, must be sufficient to permit the preparation of reports required by
general and program-specific terms and conditions, and to trace funds to establish that such funds have been used
in accordance with Federal statutes, regulations, and the terms and conditions of the Federal award.

Specifically, the financial management system must be able to:

     a) Identify, in its accounts, all federal awards received and expended and the federal programs under which
        they were received. Federal program and federal award identification must include, as applicable, the CFDA
        title and number, federal award identification number and year, name of the federal agency, and name of
        the pass-through entity, if any.
     b) Provide accurate, current, and complete disclosure of the financial results of each federal award or program.
     c) Produce records that identify adequately the source and application of funds for federally funded activities.
     d) Maintain effective control over, and accountability for, all funds, property, and other assets. The
        subrecipient must adequately safeguard all assets and assure that they are used solely for authorized
        purposes.
     e) Generate comparisons of expenditures with budget amounts for each federal award.

2. Written Policies and Procedures

The subrecipient must have written policies and procedures for (this list is not all inclusive):

        Policy/Procedure Name                         In Accordance With                   Policy     Procedure
 Drug-Free Workplace Policy                    34 CFR 84.200 and the Drug-Free
                                                                                                          N/A
                                               Workplace Act of 1988
 Procurement Policy & Procedure                2 CFR 200.317-327
 Conflict of Interest/Standard of Conduct      2 CFR 318(c)(1)
 Policy                                                                                                   N/A

 Inventory Management Policy &                 2 CFR 200.313(d)
 Procedure
 District Travel Policy                        2 CFR 200.475(b)                                           N/A
 Subrecipient Monitoring Policy &              2 CFR 200.332(d)
 Procedure (if applicable)

______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 5 of 16                                        Initials of School Board Chair:
            Case 1:25-cv-00091-LM           Document 41-10           Filed 04/07/25        Page 10 of 20




 Time and Effort Policy & Procedure            2 CFR 200.430
 Records Retention Policy & Procedure          2 CFR 200.334
 Prohibiting the Aiding and Abetting of        ESEA Section 8546
                                                                                                           N/A
 Sexual Abuse Policy
 Allowable Cost Determination Policy           2 CFR 200.302(b)(7)                                         N/A
 Gun Free School Act                           Gun Free School Act of 1994
                                                                                                           N/A
 Cash Management                               2 CFR 200.302(b)(6) and 200.305
 Nonsmoking Policy for Children’s              ESEA Section 8573
                                                                                                           N/A
 Services

3. Internal Controls

The subrecipient must:

    a) Establish, maintain, and document effective internal controls over the federal award that provides
       reasonable assurance that the non-federal entity is managing the federal award in compliance with federal
       statutes, regulations, and the terms and conditions of the federal award. These internal controls should
       comply with the guidance outlined in “Standards for Internal Control in the Federal Government” issued
       by the Comptroller General of the United States or the “Internal Control Integrated Framework” issued by
       the Committee of Sponsoring Organizations of the Treadway Commission (COSO).
    b) Comply with the U.S. Constitution, federal statutes, regulations, applicable executive order, and non-
       regulatory guidance, as applicable, and the terms and conditions of the federal awards.
    c) Take prompt action when instances of noncompliance are identified, including noncompliance identified
       in audit findings.
    d) Take reasonable cybersecurity and other measures to safeguard information including protected personally
       identifiable information (PII) and other types of information. This also includes information the Federal
       agency or pass-through entity designates as sensitive or other information the recipient or subrecipient
       considers sensitive and is consistent with applicable Federal, State, local and tribal laws regarding privacy
       and responsibility over confidentiality.
    e) Retain all Federal award records and other supporting documentation in accordance with 2 CFR 200.334.

4. Allowable Costs

In accounting for and expending project/grant funds, the subrecipient may only charge expenditures to the project
award if they are:

    a)   in payment of obligations incurred during the approved project period;
    b)   in conformance with the approved project;
    c)   in compliance with all applicable statutes and regulatory provisions;
    d)   costs that are allocable to a particular cost objective;
    e)   spent only for reasonable and necessary costs of the program; and
    f)   not used for general expenses required to carry out other responsibilities of the subrecipient.

5. Audits

This part is applicable for all non-federal entities as defined in 2 CFR 200, Subpart F.


______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 6 of 16                                        Initials of School Board Chair:
         Case 1:25-cv-00091-LM             Document 41-10          Filed 04/07/25       Page 11 of 20



    a) In the event that the subrecipient expends $1,000,000 or more in federal awards in its fiscal year, the
       subrecipient must have a single or program-specific audit conducted in accordance with the provisions of
       2 CFR 200, Subpart F. In determining the federal awards expended in its fiscal year, the subrecipient shall
       consider all sources of federal awards, including federal resources received from the NHED. The
       determination of amounts of federal awards expended should be in accordance with the guidelines
       established by 2 CFR 200, Subpart F.
    b) In connection with the audit requirements, the subrecipient shall also fulfill the requirements relative to
       auditee responsibilities as provided in 2 CFR 200.508.
    c) If the subrecipient expends less than $1,000,000 in federal awards in its fiscal year, an audit conducted in
       accordance with the provisions of 2 CFR 200, Subpart F, is not required. In the event that the subrecipient
       expends less than $1,000,000 in federal awards in its fiscal year and elects to have an audit conducted in
       accordance with the provisions of 2 CFR 200, Subpart F, the cost of the audit must be paid from non-federal
       resources (i.e., the cost of such an audit must be paid from subrecipient resources obtained from non-federal
       entities).

The subrecipient assures it will implement the following audit responsibilities:

    a) Procure or otherwise arrange for the audit required by this part in accordance with auditor selection
       regulations (2 CFR 200.509) and ensure it is properly performed and submitted no later than nine months
       after the close of the fiscal year in accordance with report submission regulations (2 CFR 200.512).
    b) Provide the auditor access to personnel, accounts, books, records, supporting documentation, and other
       information as needed so that the auditor may perform the audit required by this part.
    c) Prepare appropriate financial statements, including the schedule of expenditures of federal awards, in
       accordance with financial statements regulations (2 CFR 200.510).
    d) Promptly follow up and take corrective action on audit findings, including preparation of a summary
       schedule of prior audit findings and a corrective action plan, in accordance with audit findings follow-up
       regulations (2 CFR 200.511(b-c)).
    e) If an audit reveals the basis for a finding related to a federally funded program, upon request of the NHED
       Bureau of Federal Compliance (BFC), promptly submit a corrective action plan using the NHED template
       provided by the BFC for audit findings related to the federally funded programs.
    f) For repeat findings not resolved or only partially resolved, the subrecipient must provide an explanation
       for findings not resolved or only partially resolved to the BFC for findings related to all federally funded
       programs. The BFC will review the subrecipient’s submission and issue an appropriate management
       decision adhering to the same framework as set forth in 2 CFR 200.521.

6. Reports to be Submitted

Audits/Management Decisions

Copies of reporting packages for audits conducted in accordance with 2 CFR 200, Subpart F shall be submitted, by
or on behalf of the recipient directly to the following:

        a) The Federal Audit Clearinghouse (FAC) in 2 CFR 200, Subpart F requires the auditee to electronically
           submit the data collection form described in 200.512(b) and the reporting package described in
           200.512(c) to FAC at: The Federal Audit Clearinghouse

Copies of other reports or management decision letter(s) shall be submitted by or on behalf of the subrecipient
directly to:

        a) New Hampshire Department of Education
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 7 of 16                                        Initials of School Board Chair:
          Case 1:25-cv-00091-LM               Document 41-10        Filed 04/07/25       Page 12 of 20



             Bureau of Federal Compliance
             25 Hall Street
             Concord, NH 03301 Or via email to: federalcompliance@doe.nh.gov

        b) In response to requests by a federal agency, auditees must submit a copy of any management letters
           issued by the auditor, 2 CFR 200.512(e).

Any other reports, management decision letters, or other information required to be submitted to the NHED pursuant
to this agreement shall be submitted in a timely manner.

Single Audit Certifications and Federal Expenditures Worksheet

A fully executed and accurate FY25 Single-Audit Certification (required) and Federal Expenditures Worksheet (if
applicable) shall be submitted to the NHED no later than December 31, 2025. A copy of the forms will be provided
to each subrecipient by the NHED via email.

7. Debarment, Suspension, and Other Responsibility Matters

As required by Executive Orders (E.O.) 12549 and 12689, Debarment and Suspension, and implemented at 2 CFR
Part 180, for prospective participants in primary covered transactions, as defined in 2 CFR 180.120, 180.125 and
180.200, no contract shall be made to parties identified on the General Services Administration’s Excluded Parties
List System as excluded from Federal Procurement or Non-procurement Programs in accordance with E.O.s 12549
and 12689, “Debarment and Suspension.” This list contains the names of parties debarred, suspended, or otherwise
excluded by agencies, and contractors declared ineligible under statutory or regulatory authority other than E.O.
12549. Contractors with awards that exceed the small purchase threshold shall provide the required certification
regarding their exclusion status and that of their principal employees.

The federal government imposes this requirement in order to protect the public interest, and to ensure that only
responsible organizations and individuals do business with the government and receive and spend government grant
funds. Failure to adhere to these requirements may have serious consequences – for example, disallowance of cost,
termination of project, or debarment.

To assure that this requirement is met, there are four options for obtaining satisfaction that subrecipients and
contractors are not suspended, debarred, or disqualified.

The subrecipient certifies that it and its principals:

    a) Are not presently debarred, suspended, proposed for debarment, and declared ineligible or voluntarily
       excluded from covered transactions by any federal Department or agency.
    b) Have not within a three-year period preceding this application been convicted of or had a civil judgment
       rendered against them for commission of fraud or a criminal offense in connection with obtaining,
       attempting to obtain, or performing a public (federal, state, or local) transaction or contract under a public
       transaction; violation of federal or state antitrust statutes; commission of embezzlement; theft, forgery,
       bribery, falsification, or destruction of records; making false statements; or receiving stolen property.
    c) Are not presently indicted for or otherwise criminally or civilly charged by a governmental entity (federal,
       state, or local) with commission of any of the offenses enumerated in this certification.
    d) Have not within a three-year period preceding this application had one or more public transactions (federal,
       state, or local) terminated for cause or default.

Where the subrecipient is unable to certify to any of the statements in this certification, they shall attach an
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 8 of 16                                        Initials of School Board Chair:
            Case 1:25-cv-00091-LM           Document 41-10          Filed 04/07/25       Page 13 of 20



explanation to this document.

8. Drug-Free Workplace (Grantees Other Than Individual)

As required by the Drug-Free Workplace Act of 1988 and implemented in 34 CFR 84.200 the subrecipient certifies
that it will continue to provide a drug-free workplace by:

    a) Publishing a statement notifying employees that the unlawful manufacture, distribution, dispensing,
       possession, or use of a controlled substance (34 CFR 84.610) is prohibited in the subrecipient’s workplace
       and specifying the actions that will be taken against employees for violation of such prohibition.

    b) Establishing, as required by 34 CFR 84.215, an ongoing drug-free awareness program to inform employees
       about:

        o    The dangers of drug abuse in the workplace;
        o    The recipient’s policy of maintaining a drug-free workplace;
        o    Any available drug counseling, rehabilitation, and employee assistance programs; and
        o    The penalties that may be imposed upon employees for drug abuse violations occurring in the
             workplace.

    c) Requiring that each employee engaged in the performance of the project is given a copy of this statement.

    d) Notifying the employee in the statement that, as a condition of employment under the project, the employee
       will:

        o    Abide by the terms of the statement; and
        o    Notify the employer in writing of his or her conviction for a violation of a criminal drug statute
             occurring in the workplace no later than five calendar days after such conviction.

    e) Notifying the agency in writing within 5 calendar days after receiving notice of an employee’s conviction
       of a violation of a criminal drug statute in the workplace, as required by 34 CFR 84.205(c)(2), from an
       employee or otherwise receiving actual notice of employee’s conviction. Employers of convicted
       employees must provide notice, including position title to:

        Director, Grants and Contracts Service
        U.S. Department of Education
        400 Maryland Avenue, S.W. [Room 3124, GSA – Regional Office Building No. 3]
        Washington, D.C. 20202-4571

        (Notice shall include the identification number[s] of each affected grant).

    f) Taking one of the following actions, as stated in 34 CFR 84.225(b), within 30 calendar days of receiving
       the required notice with respect to any employee who is convicted of a violation of a criminal drug statute
       in the workplace.

        o    Taking appropriate personnel action against such an employee, up to and including termination
             consistent with the requirements of the Rehabilitation Act of 1973, as amended; or
        o    Requiring such employee to participate satisfactorily in drug abuse assistance or rehabilitation program
             approved for such purposes by a federal, state, or local health, law enforcement, or other appropriate
             agency.
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 9 of 16                                        Initials of School Board Chair:
             Case 1:25-cv-00091-LM          Document 41-10           Filed 04/07/25       Page 14 of 20




    g) Making a good-faith effort to maintain a drug-free workplace through implementation of the requirements
       stated above.

9. Gun Possession

As required by Title XIV, Part F, and Section 14601 (Gun-Free Schools Act of 1994) of the Improving America’s
Schools Act:

The LEA assures that it shall comply with the provisions of RSA 193:13, IV.

         Any pupil who brings or possesses a firearm as defined in section 921 of Title 18 of the United States
         Code in a safe school zone as defined in RSA 193-D:1 without written authorization from the
         superintendent or designee shall be expelled from school by the local school board for a period of not less
         than 12 months. Nothing in this section shall be construed to prevent the local school district or chartered
         public school that expelled the student from providing educational services to such student in an alternative
         setting.

The LEA assures that it shall timely file the report required by Ed 317.07.

The LEA assures that it has establish policies on school discipline as required by RSA 193:13, XI and XII and Ed
317.03.

10. Lobbying

As required by Section 1352, Title 31, of the U.S. Code, and implemented in 34 CFR Part 82, for persons entering
into a grant or cooperative agreement over $100,000, as defined in 34 CFR 82.105 and 82.110, the applicant certifies
that:

    a) No federally appropriated funds have been paid or will be paid by or on behalf of the subrecipient to any
       person for influencing or attempting to influence an officer or employee of any agency, a Member of
       Congress, an officer or employee of Congress, or an employee of a Member of Congress in connection with
       the making of any federal grant; the entering into of any cooperative agreement; and the extension,
       continuation, renewal, amendment, or modification of any federal grant or cooperative agreement.

    b) If any funds other than federally appropriated funds have been paid or will be paid to any person for
       influencing or attempting to influence an officer or employee of any agency, a Member of Congress, an
       officer or employee of Congress, or an employee of a Member of Congress in connection with federal
       grants or cooperative agreements, the subrecipient shall complete and submit Standard Form - LLL,
       “Disclosure Form to Report Lobbying,” in accordance with its instructions.

    c) The subrecipient shall require that the language of this certification be included in the award documents for
       all sub-awards at all tiers (including subcontracts, sub-grants, contracts under federal awards, and
       cooperative agreements) and that all sub-recipients shall certify and disclose accordingly.

New Hampshire RSA 15:5 - Prohibited Activities.

        I.       Except as provided in paragraph II, no recipient of a grant or appropriation of state funds may use
                 the state funds to lobby or attempt to influence legislation, participate in political activity, or
                 contribute funds to any entity engaged in these activities.
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 10 of 16                                       Initials of School Board Chair:
          Case 1:25-cv-00091-LM              Document 41-10            Filed 04/07/25        Page 15 of 20




         II.      Any recipient of a grant or appropriation of state funds that wishes to engage in any of the
                  activities prohibited in paragraph I, or contribute funds to any entity engaged in these activities,
                  shall segregate the state funds in such a manner that such funds are physically and financially
                  separate from any non-state funds that may be used for any of these purposes. Mere
                  bookkeeping separation of the state funds from other moneys shall not be sufficient.

11. Subrecipient Monitoring

In addition to reviews of audits conducted in accordance with 2 CFR 200, Subpart F, subrecipient monitoring
procedures may include, but not be limited to, on-site or remote visits by NHED staff, limited scope audits, and/or
other procedures. By signing this document, the subrecipient agrees to comply and cooperate with any monitoring
procedures/processes deemed appropriate by the NHED. In the event the NHED determines that a limited scope
audit of the project recipient is appropriate, the subrecipient agrees to comply with any additional instructions
provided by NHED staff to the subrecipient regarding such audit.

12. More Restrictive Conditions

Subrecipients found to be in noncompliance with program and/or fund source requirements or determined to be
“high risk” shall be subject to the imposition of more restrictive conditions as determined by the NHED.

13. Obligations by Subrecipients

Obligations will be considered to have been incurred by subrecipients on the basis of documentary evidence of
binding commitments for the acquisition of goods or property or for the performance of work, except that funds for
personal services, services performed by public utilities, travel, or the rental of facilities shall be considered to have
been obligated at the time such services were rendered, such travel occurred, and/or when facilities were used (see
34 CFR 76.707).

14. Personnel Costs – Time Distribution

Charges to federal projects for personnel costs, whether treated as direct or indirect costs, are allowable to the extent
that they satisfy the specific requirements of 2 CFR 200.430 and will be based on payrolls documented in
accordance with generally accepted practices of the subrecipient and approved by a responsible official(s) of the
subrecipient.

When employees work solely on a single federal award or cost objective, charges for their salaries and wages must
be supported by personnel activity reports (PARs), which are periodic certifications (at least semi-annually) that the
employees worked solely on that program for the period covered by the certification. These certifications must be
signed by the employee or a supervisory official having firsthand knowledge of the work performed by the
employee.

When employees work on multiple activities or cost objectives (e.g., more than one federal project, a federal project
and a non-federal project, an indirect cost activity and a direct cost activity, two or more indirect activities which
are allocated using different allocation bases, or an unallowable activity and a direct or indirect cost activity), the
distribution of their salaries or wages will be supported by personnel activity reports or equivalent documents that
meet the following standards:

    a) Reflect an after-the-fact distribution of the actual activity of each employee;
    b) Account for the total activity for which each employee is compensated;
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 11 of 16                                       Initials of School Board Chair:
          Case 1:25-cv-00091-LM             Document 41-10           Filed 04/07/25        Page 16 of 20



    c) Prepared at least monthly and must coincide with one or more pay period; and
    d) Signed and dated by the employee.

15. Protected Prayer in Public Elementary and Secondary Schools

The subrecipient certifies that the LEA has no policy that prevents or otherwise denies participation in
constitutionally protected prayer in public elementary and secondary schools. (Section 8524(a) of the Elementary
and Secondary Education Act of 1965 (ESEA), as amended by the Every Student Succeeds Act and codified at 20
U.S.C. § 7904).

16. Purchasing/Procurement

The non-Federal entity must have and use documented procurement procedures, consistent with the standards of
this section and 2 CFR 200.317 - 2 CFR 200.327 for any of the following methods of procurement used for the
acquisition of property or services required under a Federal award or sub-award.
     1. Informal procurement methods
          a. Micro-purchases
          b. Simplified Acquisition
     2. Formal procurement methods
          a. Sealed bids
          b. Proposals
     3. Noncompetitive procurement

17. Retention and Access to Records

The subrecipient certifies that it will comply with all federal regulations, including but not limited to, 2 CFR 200.334
– 2 CRF 200.338.

18. The Stevens Amendment

All federally funded projects must comply with the Stevens Amendment of the Department of Defense
Appropriation Act, found in Section 8136, which provides:

        When issuing statements, press releases, requests for proposals, bid solicitations, and other documents
        describing projects or programs funded in whole or in part with federal money, all grantees receiving
        federal funds, including but not limited to state and local governments, shall clearly state (1) the percentage
        of the total cost of the program or project which will be financed with federal money, (2) the dollar amount
        of federal funds for the project or program, and (3) the percentage and dollar amount of the total costs of
        the project or program that will be funded by non-governmental sources.

19. Transfer of Disciplinary Records

Title 20 USC 7197 requires that the State have a procedure to assure that a student’s disciplinary records, with
respect to suspensions and expulsions, are transferred by the project recipient to any public or private elementary
or secondary school where the student is required or chooses to enroll. In New Hampshire, that assurance is
statutory and found at RSA 193-D:8.

The relevant portions of the federal and state law appear below.


______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 12 of 16                                       Initials of School Board Chair:
          Case 1:25-cv-00091-LM             Document 41-10          Filed 04/07/25        Page 17 of 20



     a) Disciplinary Records - In accordance with the Family Educational Rights and Privacy Act of 1974 (20
        U.S.C. 1232g), not later than 2 years after the date of enactment of this part, each State receiving Federal
        funds under this Act shall provide an assurance to the Secretary that the State has a procedure in place to
        facilitate the transfer of disciplinary records, with respect to a suspension or expulsion, by local
        educational agencies to any private or public elementary school or secondary school for any student who
        is enrolled or seeks, intends, or is instructed to enroll, on a full- or part-time basis, in the school.

     b) 193-D:8 Transfer Records; Notice – All elementary and secondary educational institutions, including
        academies, private schools, and public schools, shall upon request of the parent, pupil, or former pupil,
        furnish a complete school record for the pupil transferring into a new school system. Such record shall
        include, but not be limited to, records relating to any incidents involving suspension or expulsion, or
        delinquent or criminal acts, or any incident reports in which the pupil was charged with any act of theft,
        destruction, or violence in a safe school zone.

20. Compliance with FERPA and PPRA

The subrecipient certifies that it complies with Family Educational Rights and Privacy Act (FERPA) (20 U.S.C.§
1232g; 34 CFR Part 99) and the Protection of Pupil Rights Amendment (PPRA) (20 U.S.C. § 1232h; 34 CFR Part
98) by ensuring the following:


     a) The subrecipient has established and implemented effective internal processes to ensure that student’s
        complete education records are maintained;
     b) The subrecipient has established and implemented effective internal processes to ensure that parents are
        provided with the opportunity to review their student’s education records;
     c) The subrecipient has established policies and procedures that permit disclosure of personally identifiable
        information from a student’s education records in order to address safety issues in a manner that complies
        with FERPA;
     d) The subrecipient provides parents and eligible students annual notification of their rights under FERPA
        consistent with 34 CFR § 99.7; and
     e) The subrecipient, if applicable, has established procedures to provide military recruiters the same access
        to secondary students as provided to postsecondary institutions or to prospective employers and require
        that schools provide student information to military recruiters, when requested, unless the parent has
        opted out of providing such information (schools are required to provide to military recruiters include
        student names, addresses, electronic mailing addresses, and telephone listings. See Section 8528 of the
        ESEA, as amended, 20 U.S.C. § 7908 and 10 U.S.C. § 503(c)).

C.       Definitions (2 CFR 200.1)

     1) Audit finding - Audit finding means deficiencies which the auditor is required by 2 CFR 200.516 (a) to
        report in the schedule of findings and questioned costs.

     2) Management decision -Management decision means the Federal awarding agency’s or pass-through
        entity’s written determination, provided to the auditee, of the adequacy of the auditee’s proposed
        corrective actions to address the findings, based on its evaluation of the audit findings and proposed
        corrective actions.

     3) Pass-through entity - Pass-through entity (PTE) means a recipient or subrecipient that provides a
        subaward to a subrecipient (including lower tier subrecipients) to carry out of a Federal program. The
______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 13 of 16                                       Initials of School Board Chair:
        Case 1:25-cv-00091-LM             Document 41-10          Filed 04/07/25       Page 18 of 20



       authority of the pass-through entity under this part flows through the subaward agreement between the
       pass-through entity and subrecipient.

   4) Period of performance - Period of performance means the total estimate time interval between the start
      of an initial Federal award and the planned end date, which may include one or more funded portions, or
      budget periods. Identification of the Period of Performance in the Federal award per 2 CFR 200.211(b)(5)
      does not commit the awarding agency to fund the award beyond the currently approved budget period.

   5) Subaward - Subaward means an award provided by a pass-through entity to a subrecipient for the
      subrecipient to contribute to the goals and objectives of the project by carrying out part of a Federal award
      received by the pass-through entity. It does not include payments to a contractor, beneficiary, or
      participant. A subaward may be provided through any form of legal agreement consistent with criteria in
      with 2 CFR 200.331, including an agreement the pass-through entity considers a contract.

   6) Subrecipient – Subrecipient means an entity that receives a subaward from a pass-through entity to carry
      out part of a federal award.

   7) Senior Educational Official – Senior Educational Official means the top executive in an educational
       organization who makes the key decisions on spending, staffing, and other education policies.




______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 14 of 16                                       Initials of School Board Chair:
         Case 1:25-cv-00091-LM           Document 41-10          Filed 04/07/25      Page 19 of 20



                                              CERTIFICATION

Instructions: The Senior Education Official must consult with the School Board for the School
District/SAU by informing said School Board about the District’s/SAU’s participation in Federal Programs
and the terms and conditions of the General Assurances, Requirements and Definitions for Participation in
Federal Programs. The Senior Educational Official and the Chair of the School Board must sign this
certification page (and initial the remaining pages) as described below and return it to the NHED. No
payment for project/grant awards will be made by the NHED without a fully executed copy of this
General Assurances, Requirements and Definitions for Participation in Federal Programs on file. For
further information, contact the NHED Bureau of Federal Compliance at federalcompliance@doe.nh.gov


Senior Educational Official or other Qualifying Administrator Certification:

We the undersigned acknowledge that [a] person is guilty of a violation of R.S.A. § 641:3 if [h]e or she
makes a written or electronic false statement which he or she does not believe to be true, on or pursuant to a
form bearing a notification authorized by law to the effect that false statements made therein are punishable;
or (b) With a purpose to deceive a public servant in the performance of his or her official function, he or she:
(1) Makes any written or electronic false statement which he or she does not believe to be true; or (2)
Knowingly creates a false impression in a written application for any pecuniary or other benefit by omitting
information necessary to prevent statements therein from being misleading; or (3) Submits or invites reliance
on any writing which he or she knows to be lacking in authenticity; or (4) Submits or invites reliance on any
sample, specimen, map, boundary mark, or other object which he or she knows to be false.

Accordingly, I, the undersigned official legally authorized to bind the named School District/SAU hereby
apply for participation in federally funded education programs on behalf of the School District/SAU named
below. I certify, to the best of my knowledge, that the below School District/SAU will adhere to and comply
with these General Assurances, Requirements and Definitions for Participation in Federal Programs (pages 1
through 14 inclusive). I further certify, as is evidenced by the Minutes of the School Board Meeting held on
_______ __, ____, that I have informed the members of the School Board of the federal funds the
District/SAU will be receiving and of these General Assurances, Requirements and Definitions for the
Participation in Federal Programs for the District’s/SAU’s participation in said programs.




SAU/Charter Number:             __      District or Charter School Name:


                                    __
Typed Name of Senior Educational Official                       Signature                       Date




______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 15 of 16                                       Initials of School Board Chair:
         Case 1:25-cv-00091-LM          Document 41-10         Filed 04/07/25      Page 20 of 20




School Board Certification:

I, the undersigned official representing the School Board, acknowledge that the Senior Educational Official,
as identified above, has consulted with all members of the School Board, in furtherance of the School
Board’s obligations, including those enumerated in RSA 189:1-a, and pursuant to the School Board’s
oversight of federal funds the District will be receiving and of the General Assurances, Requirements and
Definitions for Participation in Federal Programs in said programs.




_______________________________
Typed Name of School Board                                    Signature                        Date
Chair (on behalf of the School Board)



Once the document is fully executed, please upload a signed copy of these General assurances to
the LEA homepage within GMS for review and approval. General assurances must be uploaded
for each district applying for federal funds.




______________________________________________________________________________
New Hampshire Department of Education – FY26 Initials of Senior Educational Official:
Page 16 of 16                                       Initials of School Board Chair:
